                                                       IT IS ORDERED
                                                       Date Entered on Docket: April 8, 2019




                                                       ________________________________
                                                       The Honorable David T. Thuma
                                                       United States Bankruptcy Judge
______________________________________________________________________
                           UNITED STATES BANKRUPTCY COURT
                                DISTRICT OF NEW MEXICO

  In re:
  ROMAN CATHOLIC CHURCH OF                                         Case No. 18-13027-t11
  THE ARCHDIOCESE OF SANTA FE, a New Mexico
  Corporation Sole

                Debtor.


    ORDER APPROVING DEBTOR’S EMPLOYMENT OF STELZNER, WINTER,
   WARBURTON, FLORES, SANCHEZ & DAWES, P.A. AS SPECIAL COUNSEL FOR
               THE DEBTOR AND DEBTOR-IN-POSSESSION

         This matter came before the Court, pursuant to 11 U.S.C. §§ 327(a), 328, and 329 and

  Bankruptcy Rule 2014, upon the Roman Catholic Church of the Archdiocese of Santa Fe’s, a New

  Mexico corporation sole’s (“Debtor’s”) Application to Employ Stelzner, Winter, Warburton,

  Flores, Sanchez & Dawes, P.A. (“Stelzner”) as Special Counsel for the Debtor and Debtor-in-

  Possession, filed on December 3, 2018 as Doc. No. 15 (the “Application”).

         The Court, having reviewed the record and considered the Application, and being

  sufficiently advised, FINDS:




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       (a)      On December 3, 2018 the Debtor filed its voluntary petition under chapter 11 of

the Bankruptcy Code;

       (b)      On December 3, 2018 the Debtor filed the Application, seeking approval, effective

as of such filing date, of the employment of Stelzner as special counsel for the Debtor in this

bankruptcy case;

       (c)      On December 3, 2018 Stelzner filed a disclosure pursuant to Bankruptcy Rules

2014 and 2016 (Doc. No. 15-1) (the “Disclosure”).          On March 21, 2019, Stelzner filed a

supplemental disclosure pursuant to Bankruptcy Rules 2014 and 2016 (the “Supplemental

Disclosure”).

       (d)      On December 4, 2018, the Debtor served notice of the Application and Disclosure

by mail or by use of the Court’s case management and electronic filing system for the transmission

of notices, as authorized by Fed.R.Civ.P. 5(b)(3) and NM LBR 9036-1, on all creditors and other

parties in interest shown on the mailing list maintained by the Clerk of the Bankruptcy Court for

this case, specifying an objection deadline of 21 days from the date of service, to which three days

was added under Bankruptcy Rule 9006(f);

       (e)      Notice given of the Application and Disclosure was sufficient in form and content;

       (f)      The objection deadline expired on December 28, 2019;

       (g)      No objections to the Application were filed, timely or otherwise; and

       (h)      The Application is well taken and should be granted as provided herein.

       IT IS THEREFORE ORDERED:

       1.       Debtor’s employment of Stelzner, pursuant to 11 U.S.C. §§ 327(a), 328, and 329

to render services as set forth in the Disclosure and Supplemental Disclosure, is hereby approved

effective as of the date the Application was filed.




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       2.      Debtor is authorized to pay Stelzner on a monthly basis, upon receipt of Stelzner’s

billing statements and prior to the Court’s approval of Stelzner’s compensation “Interim

Payments”), 75% of billed fees, 100% of reimbursable costs, and 100% of applicable gross receipts

tax on paid fees and costs, provided, however, that the Debtor will make Interim Payments to Court

approved professional persons retained by the Debtor and any official committee on a pro rata

basis. Such payments are to be made from funds of the estate. The Debtor may make Interim

Payments to Stelzner based on services charged at the hourly rates set forth in the Application.

Payment of fees, costs, and gross receipts taxes, whether or not approved by interim Court order,

may be subject to disgorgement if the estate is ultimately found to be administratively insolvent,

or if the compensation paid exceeds the amount allowed on a final basis.

       3.      Stelzner is authorized to receive third party payments from the Debtor’s insurance

carriers as previously agreed. Stelzner is authorized to apply all payments held in trust to the pre-

petition balances due from the insurance carriers. If Stelzner receives any additional payments

from the insurance carriers it will disclose the payments in any fee applications.

       3.      All fees, costs and gross receipts taxes charged or paid on a monthly basis or

otherwise, including the reasonableness of rates charged, are subject to ultimate approval of the

Bankruptcy Court under Bankruptcy Code §§ 328, 330 and 331.

       4.      Stelzner will file fee applications at least every 180 days. The fee applications will

contain a detailed statement showing services performed by Stelzner, compensation received, and

any compensation previously approved.

                                    ### END OF ORDER ###




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Submitted by:
WALKER & ASSOCIATES, P.C.

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